Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 1 of 25




                EXHIBIT J
     Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 2 of 25




Acknowled gement by an Attorney- at-l aw pursuant to
42 Pa. C.S.§ 327

State of _____;c..P�e==s~y�lv�aru
                     nn       =· ""---------------
                                  a                ---

County of___�=i=
            Ph la=
                 d=el=+p=ia=---------------
                        h=


This record was acknowledged before me on ( date) D ecember 1, 2019

By __�S�e�th�C=ar=s�o=n=,�E=s=g�·---------------

Supreme Comt ID No . :____;=...3=19'-'8"-"8�6___________

A s a member of the bar of the Pennsyl vania Supreme Court certified that he/she was personally




"Stamp
 Tit le of office              Commonwealth of Pennsylvania - Notary Seal
                                    SARAH HERSTER · Notary Public
 My commission expires :                 Phtladelphfa County
                                  My Commission Expires Aug 30, 2023
                                     Commiuion Number 1357100




                                                                  McNulty EEOC Docs 00001
                     Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 3 of 25



                                                                                                               □
                     CHARGE OF DISCRIMINATION                                                                   AGENCY                       CHARGE NUMBER

   This form is affected by the Privacy Act of 1974; See Privacy Act Statement before completin�                        FEPA
   this form.
                                                                                                               [K]      EEOC
               Dual filed with the Pennsylvania Human Relations Commission                                                                                   and EEOC
& Philadelohia Commission on Human Relationsstaleor/oca/Aoencv, ifan
   NAME(fndicate Mr., Ms., Mrs.)                                                                    HOME TELEPHONE (Include Area Code)



                                                                                                                                                    I
      Patricia McNulty                                                                               215.910.2154
   STREET ADDRESS                                         CITY, STATE AND ZIP CODE                                                                      DATE OF BIRTH
     349 E 48th Street, New York, NY 10017                                                                                                              4-1-1982
   NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY. APPRENTICESHIP COMMITTEE, STATE OR LOCAL GOVERNMENT




                                                                                                                              I
   AGENCY WHO DISCRIMINATED AGAINST ME (If more than one list below.)
   NAME                                             NUMBER OF EMPLOYEES. MEMBERS                                                  TELEPHONE (Include Area Code)



                                                                                                                                                    I
   Middle East Forum                                      25 plus                                                                       215.546.5406
   STREET ADDRESS                                         CITY, STATE AND ZIP CODE                                                                      COUNTY
                 1650 Market Street, Suite 3600 Philadelphia PA 19103                                                                                   Philadelphia
   NAME                                                                                             TELEPHONE NUMBER (Include Area Code)
     Greg Roman, Daniel Pipes, Matthew Bennett                                                           215.546.5406
   STREET ADDRESS                                         CITY, STATE AND ZIP CODE                                                                      COUNTY
                                                                                                                                                    l
                   1650 Market Street, Suite 3600 Philadelphia PA 19103                                                                                 Philadelphia
   CAUSE OF DISCRIMINATION BASED ON (Check appropriate box(es))                                                         DATE DISCRIMINATION TOOK PLACE

    □                                                           □                        □
                                     □                   □ DISABILITY D OTHER (Specify)
          RACE      OcoLOR                    IK]sEX                  RELIGION                 NATIONAL ORIGIN            October 2017 to Present
          [Jg RETALIATION                  AGE
                                                                                                                                  [!] CONTINUING ACTION
   THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(sJJ:
  Charging Party, Patricia McNulty was subjected to a severe and pervasive atmosphere of discrimination and harassment in the workplace. Charging Party now files this Charge
  of Discrimination against the above named Respondents, Middle East Forum, Greg Roman, Daniel Pipes, and Matthew Bennett. Charging Party was employed at the Middle
  East Forum from October 2017 until her wtlawful termination by constructive discharge September 2019. Ch arging Party Patricia McNulty notified Respondents that she
  could no longer tolerate working in such hostile work conditions and resigned her position at the Middle East Forum to avoid further discrimination and harassment and
  retaliation to which Charging Party was subjected by Respondents during her employment. Charging Party's resignation letter notified Respondents that she could no longer
  tolerate the severe and pervasive discrimination and harassment which caused Charging Party to suffer physical and mental distress. Charging Party reported the
  discrimination and harassment and was subjected to further retaliation. Ch arging Party hereby would ask the EEOC and Pennsylvania Human Relations Commission to
  consider her previously filed Charge of Discrimination which was assigned the Charge number 530-2019-04521. When this Ch arge was filed in fune 2019, Charging Party had
  not yet been constructively discharged from her employment. After filing her Charge, Charging Party was subjected to further discrimination, haras sment and retaliation.
  Charging Party attempted to continue her employment at the Middle East Forum however, Respondents initiated a campaign of retaliation against Charging Party pursuant to
  Charging Party's reports of discrimination and harassment and her attempts to vindicate her rights by filing a Ch arge of Discrimination, previous Charge number identified
  above. Charging Party was subjected to tangible employment actions. Charging Party's position with the Middle East Forum was changed and altered. Ch arging Party's ability
  to do the work that she was responsible for changed at Respondents subjected Charging Party to further discrimination and harassment and retaliation by reassigning Charging
  Party or subjecting Ch arging Party to discipline. Charging Party was threatened. Charging P arty was ignored. The entire office changed after Charging Party filed her Ch arge
  and it was communicated to Charging Party without any ambiguity that Charging Party was no longer welcome at the Middle East Forum. Charging Party was made to
  understand that she was not welcome at the Middle East Forum and that Charging Party's future at the Middle East Forum would afford Charging Party no opportunity for
  advancement and indeed Charging Party would not even be permitted to perform the same responsibilities that she performed prior to Ch arging Party submitting a Charge of
  Discrimination at the EEOC and PHRC. Respondents disp arate treatment and retaliation against Charging P arty and the hostile work environment that began October 2017
  culminated in a tangible employment action: Charging Party's termination. Charging Party was not allowed to apply for a position of Director of Development. Charging Part)
  was the acting Director of Development and the obvious choice for succession to the position. As soon as Charging Party applied for the position, Respondents discontinued
  canvasing for the position and Charging Party was expected to continue to perform the responsibilities of the position without any compensation of benefits. Charging Party
  was afforded $ 1000.00 a month but Charging Party was no longer allowed to be a candidate for the position. Charging P arty was reprimanded and issued verbal warnings for
  no reason other than retaliation. All support for Charging Party was withdrawn. Respondents refused to communicate with Charging Party.

                                                                                     NOTARY - (When necessary for Stale and Local Requirements)
   I want this charge filed with both the EEOC and the State or local Agency, if any
   I will advise the agencies if I change my address or telephone number and I will
   cooperate fully with them in the processing of my charge in accordance wilh thei


                                                                                                                                                          -(fl �
                                                                                     I swear or affirm that I have read the above charge and that It is true lo lhe b,
   procedures.
                                                                                     of mv knowledae, Information and belief.
   I declare under penalty of perjury that the foregoing Is true and correct.               SIGNA        E OF COMPLAINANT ,,,..-,

                                                                                               \'2 I I°\
                                                                                                    rr                                \�
   1q__/i/1'1_
   Date
                                         ��-(fl�
                                       Charging Party (Slgnatvre}
                                                                                            SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                            (Day. month, and year)


   EEOC FORM 5 (REV. 3/01)




                                                                                                      McNulty EEOC Docs 00002
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 4 of 25

DEREK SMITH LAW GROUP, PLLC
By: Seth D. Carson
ID: 319886
1845 Walnut Street, Suite 1600
Philadelphia, PA 1910
Phone: 215.391.4790
Facsimile: 215.893.5288
Email: seth@dereksmithlaw.com             ATTORNEY FOR CHARGING PARTY
___________________________________________________________________________
                                     :
PATRICIA MCNULTY                     :    EQUAL EMPLOYMENT
512 S. 5TH Street                    :    OPPORTUNITY COMMISSION
Philadelphia, PA 19147               :
                      Charging Party :    December 13, 2019
vs.                                  :
                                     :
MIDDLE EAST FORUM                    :    TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600       :
Philadelphia, PA 19103               :
and                                  :    PENNSYLVANIA HUMAN
DANIEL PIPES (individually)          :    RELATIONS COMMISSION
and                                  :
GREG ROMAN (individually)            :    AND
and                                  :
MATTHEW BENNETT (individually)       :     PHILADELPHIA COMMISSION
                                     :     ON HUMAN RELATIONS
                      Respondents.   :

                               ENTRY OF APPEARANCE


   Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party,

PATRICIA MCNULTY, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                   SETH D. CARSON, ESQUIRE

DATED: December 13, 2019




                                                       McNulty EEOC Docs 00003
     Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 5 of 25




INFORMATION FOR COMPLAINANTS & ELECTION OPTION TO DUAL FILE WITH THE


                                                      N\,JJ� /;�s} i;,,.,N\
             PENNSYLVANIA HUMAN RELATIONS COMMISSION

case Name,     Pz\6<-1'). l'hc. N_,\ ry V -
EEOC Charge Number: __________

You have the right to dual file this EEOC charge of discrimination with the Pennsylvania
Human Relations Commission (PHRC) under the Pennsylvania Human Relations Act. Filing
your charge with PHRC protects your state rights, especially since there may be
circumstances in which state and federal laws and procedures vary in a manner which could
affect the outcome of your case.

Complaints filed with PHRC must be filed within 180 days of the act(s) which you believe are
unlawful discrimination. If PHRC determines that your PHRC complaint is untimely, it will be
dismissed.

If you also want your EEOC charge filed with PHRC, including this form as part of your
EEOC charge, with your signature under the verification below, will constitute filing with
PHRC. You have chosen EEOC to investigate your complaint, so PHRC will not conduct a
separate investigation and, in most cases, will accept EEOC's findings. If you disagree with
PHRC's adoption of EEOC's findings, you will have the chance to file a request for
preliminary hearing with PHRC.

Since you have chosen to initially file your charge with EEOC , making it the primary
investigatory agency, the Respondent will not be required to file an answer with PHRC, and
no other action with PHRC is required by either party, unless/until otherwise notified by
PHRC.

If your case is still pending with PHRC after one year from filing with PHRC, you have the
right to file your complaint in State court. PHRC will inform you of these rights and
obligations at that time.

                   SIGN AND DATE APPROPRIATE REQUEST BELOW

I want my charge dual filed with PHRC. I hereby incorporate this form and the verification
below into the attached EEOC complaint form and file it as my PHRC complaint. I request
that EEOC transmit a copy to PHRC.

I understand that false statements in this complaint are made subject to the penalties of 18
Pa. C.S. 4904, relating to unsworn falsification to authorities.

x ?�:YVl hjJJ�
Signature and Date

OR

I do not want my charge dual filed with PHRC.



Signature and Date




                                                       McNulty EEOC Docs 00004
        Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 6 of 25




                                             June 20, 2019

Via Email: "EEOC Philadelphia" <philatty@eeoc.gov>
Equal Employment Opportunity Commission
801 Market Street
Suite 1300
Philadelphia, PA 19107-3127
Attention: Intake Unit

Re:                    Our Client    :          Patricia McNulty
                 Nature of Complaint :          Discrimination, Harassment & Retaliation

                                               -against-
                                         Middle East Forum

                                             Daniel Pipes

                                             Greg Roman

                                          Matthew Bennett

                                    (collectively “Respondents”).

Dear Sir or Madam:

        The following Charge of discrimination and retaliation is filed on behalf of our client,
Patricia McNulty against the Middle East Forum, Daniel Pipes, Greg Roman, and Matthew
Bennett, (hereinafter “Respondents”).

       We request this Charge be dual filed with the Pennsylvania Human Relations
Commission, the Philadelphia Commission on Human Relations and any other state or local
agency with whom the EEOC has a work sharing agreement. Charging Party makes her claim
under all applicable rules, regulations, statutes and ordinances relevant to the facts provided.



        New York City Office: One Penn Plaza, Suite 4905, New York, NY 10119 | (212) 587-0760
      Philadelphia Office: 1835 Market Street, Suite 2950, Philadelphia, PA 19103 | (215) 391-4790
             Miami Office: 100 SE 2nd Street, Suite 2000, Miami, FL 33131 | (305) 946-1884
            New Jersey Office: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
                        Website: www.discriminationandsexualharassmentlawyers.com


                                                             McNulty EEOC Docs 00005
        Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 7 of 25




     Upon information and belief Charging Party, Patricia McNulty avers the following:



                                            PARTIES

1.      Charging Party, Patricia McNulty (“Charging Party”) is an adult individual who resides in

        the Commonwealth of Pennsylvania with an address for purposes of correspondence at

        512 S 5th Street, Philadelphia, Pennsylvania 19147.

2.      Respondent, Middle East Forum is a non-profit organization which is licensed to and

        regularly transacts business in the Commonwealth of Pennsylvania with offices for the

        purposes of correspondence at 1650 Market Street, Suite 3600, Philadelphia,

        Pennsylvania 19103.

3.      Respondent, Daniel Pipes is an adult individual who resides in the Commonwealth of

        Pennsylvania with a business address for the purposes of correspondence at 1650 Market

        Street, Suite 3600, Philadelphia, Pennsylvania 19103.

4.      At all times relevant to this Charge, Respondent, Daniel Pipes was employed by

        Respondents, held the title President, and held supervisory authority over Charging Party,

        Patricia McNulty.

5.      Respondent, Greg Roman is an adult individual who resides in the Commonwealth of

        Pennsylvania with a business address for the purposes of correspondence at 1650 Market

        Street, Suite 3600, Philadelphia, Pennsylvania 19103.

6.      At all times relevant to this Charge, Respondent, Greg Roman was employed by

        Respondents as the Director of the Middle East Forum and held supervisory authority

        over Charging Party, Patricia McNulty.




                                                          McNulty EEOC Docs 00006
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 8 of 25




7.    Respondent, Matthew Bennett is an adult individual who resides in the Commonwealth of

      Pennsylvania with a business address for the purposes of correspondence at 1650 Market

      Street, Suite 3600, Philadelphia, Pennsylvania 19103.

8.    At all times relevant to this Charge, Respondent, Matthew Bennett was employed by

      Respondents and held supervisory authority over Charging Party, Patricia McNulty.

9.    At all times relevant to this Charge Respondents were Charging Party’s joint and sole

      employer.

                                    MATERIAL FACTS

10.   Charging Party, Patricia McNulty (“Charging Party”) began her employment for

      Respondents, Middle East Forum, Daniel Pipes, Greg Roman, and Mathew Bennett

      (collectively “Respondents”) sometime around October 23, 2017.

11.   Charging Party was hired as a Program Manager.

12.   Today Charging Party is the Acting Director of Development. Charging Party also holds

      the title Program Director.

13.   Respondents are currently interviewing for a fulltime Program Director.

14.   Charging Party was invited to apply for the Program Director position by Respondent,

      Daniel Pipes, however, to fulfill the requirements of this position, Charging Party would

      have to work directly with Respondent, Greg Roman.

15.   Respondent, Greg Roman is currently the Director of the Middle East Forum.

16.   Respondent, Daniel Pipes is currently the President of the Middle East Forum.

17.   March 2018, Charging Party attended a conference in Washington DC. This conference

      was the American Israel Public Affairs Committee (“APAC”).




                                                         McNulty EEOC Docs 00007
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 9 of 25




18.   Others in attendance included Respondent, Greg Roman, Respondent, Mathew Bennett,

      coworker Lisa Barbounis, and coworker, Marnie Meyer.

19.   Respondent, Greg Roman and Respondent, Mathew Bennett booked an Airbnb in

      Washington D.C. for the APAC Conference.

20.   Charging Party booked a hotel room for the APAC Conference.

21.   The other female employees at Middle East Forum also booked hotel rooms for the

      APAC Conference.

22.   After dinner, Respondent, Greg Roman invited Grantees from The Pinsker Center and a

      writing fellow named Raheem Kassam back to his Airbnb.

23.   Respondent, Greg Roman sat on the couch between Charging Party, Patricia McNulty and

      coworker, Lisa Barbounis.

24.   Respondent, Greg Roman proceeded to put his arms around both Charging Party, Patricia

      McNulty and coworker, Lisa Barbounis.

25.   Respondent, Greg Roman grabbed Charging Party by her upper thigh and violently

      yanked Charging Party onto his lap. Respondent, Greg Roman then began whispering

      inappropriate sexual advances in Charging Party’s ear.

26.   Respondent, Greg Roman informed Charging Party that there was no need for any other

      men to be in the room. Respondent, Greg Roman then informed Charging Party, “you

      know why!”

27.   Charging Party tried to pull away from Respondent, Greg Roman who resisted Charging

      Party’s attempts to escape from Respondent, Greg Roman’s grip.

28.   Charging Party had to fight to get away.




                                                        McNulty EEOC Docs 00008
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 10 of 25




29.   Once Charging Part was able to get away, Charging Party left the room and entered the

      kitchen area.

30.   Respondent, Greg Roman sexually assaulted Charging Party, Patricia McNulty at the

      APAC conference when he violently yanked Charging Party across the couch, onto his

      lap, and whispered inappropriate, unwelcome sexual advances in Charging Party’s ear.

31.   Prior to the sexual assault at the APAC Conference, Respondent, Greg Roman subjected

      Charging Party to severe and pervasive discrimination and harassment based upon

      Charging Party’s sex and gender.

32.   Respondent, Greg Roman screamed at Charging Party. Respondent, Greg Roman cursed

      at Charging Party. Respondent, Greg Roman did not treat Charging Party’s similarly

      situated male coworkers in this discriminatory, abusive, hostile and intolerable manner.

33.   Respondent, Greg Roman also subjected Charging Party’s coworker, Lisa Barbounis to

      severe and pervasive discrimination and harassment based upon her sex and gender.

34.   Respondent, Greg Roman also subjected Charging Party’s coworker, Caitriona Brady to

      severe and pervasive discrimination and harassment based upon her sex and gender.

35.   Respondent, Greg Roman also subjected Charging Party’s coworker, Delaney Yonchek to

      severe and pervasive discrimination and harassment based upon her sex and gender.

36.   In April 2018, Respondent, Greg Roman and Charging Party’s coworker, Lisa Barbounis

      were sent to Israel for business meetings. This was a work trip organized through and for

      the Middle East Forum.

37.   Respondent, Greg Roman ordered Lisa Barbounis to not tell anyone that Lisa Barbounis

      was accompanying Respondent, Greg Roman on the trip.




                                                         McNulty EEOC Docs 00009
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 11 of 25




38.   Respondent, Greg Roman insisted that Lisa Barbounis share an Airbnb with him. Lisa

      Barbounis agreed on the condition that they book a two-bedroom Airbnb. This was a

      specific condition because Respondent, Greg Roman would not take Lisa Barbounis on

      the Israel trip unless she agreed to share an Airbnb with him. Lisa Barbounis wanted the

      opportunity to travel to Israel and therefore made certain that Respondent, Greg Roman

      booked a two-bedroom Airbnb.

39.   Respondent, Greg Roman asked Marnie Meyer to go on the trip before he asked Lisa

      Barbounis. When Marnie Meyer informed Respondent, Greg Roman that she wanted to

      have her own hotel room, Respondent, Greg Roman said, “just forget it.”

40.   Before the Israel trip, Respondent, Greg Roman instructed Lisa Barbounis not to tell

      anyone that she was coming on the trip. Respondent, Greg Roman said, “Don’t tell your

      family. Don’t tell Daniel. Don’t tell anyone in the office.”

41.   While on the trip, Lisa Barbounis was sitting on the couch in living room/entertainment

      room of the Airbnb when Respondent, Greg Roman sat down next to Lisa Barbounis.

      Respondent, Greg Roman then put his legs on the couch and put his feet under Lisa

      Barbounis’s backside.

42.   Respondent, Greg Roman then said: “now that my foot is on your ass we have reached a

      new level.” Lisa Barbounis got up, walked away and tried to laugh it off. Lisa Barbounis

      was highly uncomfortable at the obviously sexual, inappropriate and unwelcome advance.

43.   The next evening, Respondent, Greg Roman left the Airbnb to go out. Lisa Barbounis

      stayed home to work and finish a Power Point.




                                                         McNulty EEOC Docs 00010
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 12 of 25




44.   Respondent, Greg Roman arrived home and confessed to Lisa Barbounis that he had a

      sexual relationship with a current intern in the Israel office for the Middle East Forum

      named, Leah Merville.

45.   Respondent, Greg Roman secured Leah Merville’s internship in Israel. Respondent, Greg

      Roman secured Leah Merville’s internship in Israel based upon a prid pro quo sexual

      harassment. Respondent, Greg Roman informed Lisa Barbounis that when Leah Merville

      visited Respondent Greg Roman’s hotel room to sign the internship papers, “that’s when I

      fucked her.”

46.   Respondent, Greg Roman continued to describe the sexual harassment to Lisa Barbounis.

      Respondent, Greg Roman said that Leah Merville gives a really great blowjob.

      Respondent, Greg Roman said, “her body is so tight.” Respondent, Greg Roman

      continued to describe in detail his sexual relationship to Lisa Barbounis.

47.   Lisa Barbounis was highly offended and scared to be alone with Respondent, Greg

      Roman.

48.   Respondent, Greg Roman informed Lisa Barbounis that he attempted to make contact

      with Leah Merville that night. Respondent, Greg Roman explained that he desired to

      continue the sexual relationship with the intern, Leah Merville. However, Respondent,

      Greg Roman said that Leah Merville was ignoring his calls.

49.   Respondent, Greg Roman then directed his sexual advances toward Lisa Barbounis.

      Respondent, Greg Roman informed Lisa Barbounis, “I just need a sexual release.”

      Respondent, Greg Roman informed Lisa Barbounis, “I really need a blowjob.”

50.   The entire time that Respondent, Greg Roman spoke to Lisa Barbounis, he aggressively

      paced the room and said, I just need a blow job. I just need a release.




                                                          McNulty EEOC Docs 00011
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 13 of 25




51.   Lisa Barbounis was scared, offended, harassed, modified, and creeped out.

52.   Respondent, Greg Roman’s aggressive sexual conduct became more aggressive.

      Respondent, Greg Roman’s voice got louder as he continued to visit his sexual advances

      upon Lisa Barbounis.

53.   Respondent, Greg Roman was Lisa Barbounis’s and Charging Party’s direct supervisor.

54.   Respondent, Greg Roman employed policies, procedures and protocols designed to create

      a barrier between Charging Party and President Daniel Pipes. This barrier was aimed at

      limiting the opportunities that Charging Party had to report Respondent, Greg Roman’s

      unwelcome sexual conduct and comments.

55.   Pursuant to the sexual advances described above and the assault on Charging Party,

      Respondent, Greg Roman began subjecting Charging Party to discrimination and

      harassment in the office based upon Charging Party’s sex and gender.

56.   Respondent, Greg Roman followed Charging Party around the office. Respondent, Greg

      Roman entered Charging Party’s office when she was not present and explored her

      computer including personal emails, chat history, and internet browser history.

      Respondent, Greg Roman also asked other employees to spy on Charging Party.

57.   Respondent, Greg Roman kept tabs on the number of times that Charging Party used the

      bathroom.

58.   Respondent, Greg Roman subjected Charging Party to severe and pervasive

      discrimination and harassment based upon her sex and gender. This discrimination and

      harassment was evident in the way that Respondent, Greg Roman spoke to Charging

      Party, the assignments he provided, his tone of voice, body language, expressions,




                                                        McNulty EEOC Docs 00012
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 14 of 25




      cursing, and other threatening conduct. Respondent, Greg Roman created a hostile work

      environment for Charging Party.

59.   Charging Party reported the discrimination and harassment to which she was subjected by

      Respondent, Greg Roman to Lisa Barbounis. Lisa Barbounis notified Marnie Meyer.

      Marnie Meyer prepared a handwritten letter addressed to Daniel Pipes and provided same

      on November 1, 2018.

60.   Respondent, Daniel Pipes spoke to Charging Party the same day and Charging Party

      reported the discrimination and harassment and sexual assault at the APAC conference in

      Washington D.C.

61.   Charging Party also described to Respondent, Daniel Pipes the way that Respondent,

      Greg Roman’s behavior changed significantly after Charging Party rejected his

      unwelcome sexual advances and assault.

62.   In addition to the reports of discrimination and harassment which Charging Party

      provided, several other employees at the Middle East Forum also spoke to Respondent,

      Daniel Pipes on November 1, 2018.

63.   By at least November 1, 2018, Respondent Daniel Pipes learned about Respondent, Greg

      Roman’s discrimination and harassment to which he subjected the female staff employed

      by the Middle East Forum. This included the incident at the APAC Conference when

      Respondent, Greg Roman sexually assaulted Charging Party. This also included the

      incident in Israel when Respondent, Greg Roman subjected Lisa Barbounis to unwelcome

      lewd sexual advances.

64.   After Respondent, Daniel Pipes learned about the ongoing severe and pervasive

      discrimination and harassment, he notified Charging Party Patricia McNulty, Marnie




                                                        McNulty EEOC Docs 00013
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 15 of 25




      Meyer, Lisa Barbounis, and Respondent, Mathew Bennett that nothing was going to be

      done to ameliorate the discrimination and harassment. Respondent, Daniel Pipes said,

      “priests have been accused of more and not lost their jobs.”

65.   Accordingly, Respondent, Daniel Pipes notified the office that the standard at the Middle

      East Forum for discipline pursuant to anti-discrimination laws was not reached by

      Respondent, Greg Romans severe and pervasive conduct and comments. This includes

      the sexual assault of Charging Party.

66.   Accordingly Respondent, Daniel Pipes initiated no discipline and no corrective action

      was taken.

67.   Charging Party, Marnie Meyer, Lisa Barbounis, and Respondent, Mathew Bennett were

      instructed to work from home the following Friday.

68.   Respondent, Daniel Pipes also instructed Charging Party Patricia McNulty, Marnie

      Meyer, Lisa Barbounis, and Respondent, Mathew Bennett to execute new Nondisclosure

      Agreements. Charging Party and Lisa Barbounis refused to sign.

69.   Saturday, November 3, 2018, Charging Party received an email from Respondent, Daniel

      Pipes instructing Charging Party to attend a group meeting scheduled Monday, November

      5, 2018. This memorandum was sent as a group email to Charging Party and her

      coworkers. Respondent, Greg Roman was included in the email and invitation to attend

      the group meeting.

70.   In fact, Respondent, Greg Roman was specifically asked to attend the group meeting. It

      was not until Monday, November 5, 2018 when a call was made to Respondent, Greg

      Roman asking that he stay home.




                                                         McNulty EEOC Docs 00014
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 16 of 25




71.   Notwithstanding, Respondent, Greg Roman’s sister attended the meeting and spent the

      entire meeting suggesting that the woman who Respondent, Greg Roman sexually

      harassed were at fault for wearing short skirts. This meeting is indicative of Respondent,

      Daniel Pipes utter failure to bring his organization into compliance with state and federal

      anti-discrimination laws.

72.   After the November 5, 2018 meeting, Respondent, Daniel Pipes decided that Respondent,

      Greg Roman would retain his position, title, pay, and employment with the Middle East

      Forum.

73.   Respondent, Daniel Pipes notified Charging Party that Respondent, Greg Roman would

      work from home and that Charging Party would no longer directly report to Respondent

      Greg Roman. However, this is not what occurred

74.   For the next four to five months, Charging Party was forced to continue working with

      Respondent, Greg Roman. The only change was that Respondent, Greg Roman did not

      visit the office anymore. Charging Party was still subjected to working directly with

      Respondent, Greg Roman

75.   Charging Party was still subjected to the same discrimination and harassment when she

      was forced to work with Respondent, Greg Roman.

76.   Moreover, Respondent, Greg Roman initiated a campaign of retaliation targeting the

      employees who Respondent, Greg Roman called “the usurpers.” Respondent Greg

      Roman also called them the “backstabbers.”

77.   Respondent, Greg Roman notified Respondent, Mathew Bennett, “they are all usurpers

      and I will never work with usurpers.” Even more recently, Respondent, Greg Roman

      announced on a radio show that “all usurpers should be crushed.”




                                                         McNulty EEOC Docs 00015
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 17 of 25




78.   Charging Party was therefore forced to continue working with and taking orders from

      Respondent, Greg Roman.

79.   Respondent, Greg Roman began a campaign of retaliation aimed at Charging Party and

      the other female employees in the office who reported discrimination and harassment

      including Marnie Meyer and Lisa Barbounis.

80.   Sometime around March 2019, Respondent, Daniel Pipes ordered Marnie Meyer, Lisa

      Barbounis and Charging Party, Patricia McNulty into a meeting where Respondent,

      Daniel Pipes announced that Respondent, Greg Roman was moving back to a position

      where he would begin working directly with Charging Party and the other female

      employees Respondent, Greg Roman harassed.

81.   At all times Respondent, Greg Roman retained the position of Director of the Middle East

      Forum.

82.   At all times, Charging Party was forced to continue working at the Middle East Forum

      with Respondent, Greg Roman.

83.   In the March 2019 meeting, Respondent, Daniel Pipes announced that he was going to

      eliminate the purported safe measures initiated to protect the female staff from

      Respondent, Greg Roman’s severe and pervasive discrimination, harassment, and

      retaliation.

84.   Accordingly, since March 2019, Respondent, Greg Roman’s contact with the female staff

      including Charging Party has continued to increase.

85.   Respondent, Greg Roman’s campaign of retaliation since March 2019 has been aimed at

      effecting Charging Party’s termination from the Middle East Forum. Respondent Greg

      Roman called Respondent, Mathew Bennett and breached the nondisclosure agreement by




                                                         McNulty EEOC Docs 00016
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 18 of 25




      informing Respondent, Matthew Bennett that Charging Party is terrible at her job.

      Respondent, Greg Roman also said that Charging Party is in over her head. Respondent,

      Greg Roman also said that Charging Party will never succeed in her position.

86.   This was also around the time when Charging Party learned that another allegation of

      sexual harassment had been made involving Respondent, Greg Roman.

87.   Respondent, Greg Roman began a rumor that Marnie Meyer was having a sexual

      relationship with Caitriona Brady’s father.

88.   Caitriona Brady is an employee at the Middle East Forum who holds the position

      Development Associate. When Respondent, Greg Roman learned that another allegation

      was reported involving him, Respondent, Greg Roman did not yet know the details of the

      allegation. Accordingly, Respondent, Greg Roman and Respondent, Mathew Bennett

      began a guessing game where they attempted to guess what the allegation involved.

      Respondent, Greg Roman incorrectly guessed that the sexual harassment allegation

      involved a former intern named Gabrielle Bloom who Respondent, Greg Roman paid to

      have sex with.

89.   Accordingly, Respondent, Greg Roman subjected two female interns to prid pro quo

      sexual harassment, as well as subjecting Charging Party to a sexual assault.

90.   Just days after the March 2019 meeting when Respondent, Daniel Pipes announced that

      he was eliminating the measures designed to protect female staff from Respondent Greg

      Roman, Respondent, Greg Roman called Respondent, Mathew Bennett. Respondent,

      Greg Roman informed Respondent, Matthew Bennett, “now that I am back, I am going to

      begin searching for a replacement for the Director of Development.”

91.   This was Charging Party’s position.




                                                         McNulty EEOC Docs 00017
       Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 19 of 25




92.    Charging Party reported this retaliation to Respondent, Daniel Pipes. Respondent, Daniel

       Pipes’ response was “Why are complaining to me. Go complaint to Greg.”

93.    Respondent, Daniel Pipes’ instruction to Charging Party directly controverted the policies

       that were purportedly in place whereby Charging Party was not supposed to have to

       report anything directly to Respondent, Greg Roman.

94.    At present, Charging Party is subjected to a severe and pervasive atmosphere of

       discrimination and harassment based upon her sex and gender and in retaliation for

       Charging Party’s reports and opposition to Respondents sexual harassment and

       discrimination and harassment of Charging Party.

95.    Charging Party continues her attempts to report and obtain assistance from Respondent,

       Daniel Pipes.

96.    Respondent, Daniel Pipes continues to protect, shield, indemnify and assist Respondent,

       Greg Roman from any and all impact caused by his severe and pervasive discrimination

       and harassment.

97.    Accordingly, Respondent, Daniel Pipes has condoned, sanctioned, permitted, and allowed

       the discrimination, harassment, and retaliation to continue.

98.    Respondents have made Charging Party’s working conditions so onerous, abusive, and

       intolerable that no person in Charging Party’s shoes should be expected to continue

       working under such conditions.

99.    As a result of Respondents’ actions, Charging Party felt extremely humiliated, degraded,

       victimized, embarrassed and emotionally distressed.

100.   As a result of Respondents’ conduct, Charging Party was caused to sustain serious and

       permanent personal injuries, including permanent psychological injuries. As a result of




                                                          McNulty EEOC Docs 00018
       Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 20 of 25




       Respondents’ actions, Charging Party felt extremely humiliated, degraded, victimized,

       embarrassed and emotionally distressed.

101.   As a result of the acts and conduct complained of herein, Charging Party has suffered and

       will continue to suffer a loss of income, loss of salary, bonuses, benefits and other

       compensation to which such employment entailed.

102.   Charging Party also suffered future pecuniary losses, emotional pain, humiliation,

       suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

       Charging Party has further experienced severe emotional and physical distress.

103.   As Respondents’ conduct has been malicious, willful, outrageous, and conducted with full

       knowledge of the law, Charging Party demands Punitive Damages as against all the

       Respondents, jointly and severally.

104.   Respondents have exhibited a pattern and practice of not only discrimination but also

       retaliation. At all times material Respondents refused to investigate or take appropriate

       remedial action in response to Charging Party’s complaints of discrimination, harassment

       and hostile work environment.

105.   Respondents discriminatory conduct was severe and pervasive, and created a hostile work

       environment for Charging Party.

106.   The above are just some examples of some of the discrimination and retaliation to which

       Respondents subjected Charging Party.

107.   Charging Party claims a pattern and practice of discrimination, claims continuing

       violations, and makes all claims herein under the continuing violations doctrine.

       Respondents have exhibited a pattern and practice of not only discrimination but also

       retaliation.




                                                           McNulty EEOC Docs 00019
      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 21 of 25




       Please contact me if you have any questions or require any additional information. Thank
you for your courtesy and cooperation in the matter.


                                              Very truly yours,

                                             DEREK SMITH LAW GROUP, PLLC


                                               BY: ___/s/ Seth D. Carson ____________
                                                    Seth D. Carson, Esquire
                                                    1835 Market Street
                                                    Suite 2950
                                                    Philadelphia, PA 19103




DATED: June 20, 2019




                                                        McNulty EEOC Docs 00020
     Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 22 of 25

DEREK SMITH LAW GROUP, PLLC
By: Seth D. Carson
ID: 319886
1845 Walnut Street, Suite 1600
Philadelphia, PA 1910
Phone: 215.391.4790
Facsimile: 215.893.5288
Email: seth@dereksmithlaw.com             ATTORNEY FOR CHARGING PARTY
___________________________________________________________________________
                                    :
PATRICIA MCNULTY                    :     EQUAL EMPLOYMENT
512 S. 5TH Street                   :     OPPORTUNITY COMMISSION
Philadelphia, PA 19147              :
                     Charging Party :     June 20, 2019
vs.                                 :
                                    :
MIDDLE EAST FORUM                   :     TO BE DUAL FILED WITH THE
1650 Market Street, Suite 3600      :
Philadelphia, PA 19103              :
and                                 :     PENNSYLVANIA HUMAN
DANIEL PIPES (individually)         :     RELATIONS COMMISSION
and                                 :
GREG ROMAN (individually)           :     AND
and                                 :
MATTHEW BENNETT (individually)      :      PHILADELPHIA COMMISSION
                                    :      ON HUMAN RELATIONS
                     Respondents.   :

                               ENTRY OF APPEARANCE


   Kindly enter the appearance of Seth D. Carson, Esquire, on behalf of Charging Party,

PATRICIA MCNULTY, in the above listed matter.

                                                  DEREK SMITH LAW GROUP, PLLC,


                                                  _____/s/ Seth D. Carson________________
                                                    SETH D. CARSON, ESQUIRE

DATED: June 20, 2019




                                                       McNulty EEOC Docs 00021
           Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 23 of 25




To be dual filed with the Philadelphia Commission on Human Relations and the Pennsylvania Human
Relations Act. Charging Party, Lisa Barbounis submits this Charge of Discrimination against Respondents.
Charging Party has prepared a separate Charge form of which this is the cover page.

Charging Party was subjecting to discrimination, harassment and retaliation based upon her sex and gender.
The discrimination and harassment was severe and pervasive and created a hostile work environment.




                                                             McNulty EEOC Docs 00022
                      Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 24 of 25
EEOC Form 5 (11109)


                      CHARGE OF DISCRIMINATION
          This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                 Statement and other information before completing this form.
                                                                                                       □
                                                                                                  Charge Presented To:


                                                                                                       �EEOC
                                                                                                             FEPA
                                                                                                                                       Agency(ies) Charge No(s):




                                                                                                                                                            and EEOC
                                                                      State or local Agency, if any
THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):




I want this charge filed with both the EEOC and the State or local Agency, if any. I        NOTAR                necessary for Sta }l/ n Local Agency Requirements
                                                                                                                                        �
                                                                                                      �l
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their                     VL_-__ - ���
procedures.                                                                                 I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                      the best of my knowledge, information and belief.
                                                                                            SIGNATURE OF COMPLAINANT


                                                                                            S:sl��NJ.!l�
                                                                                            (month, day, yea()

            Date                               Charging Party Signature                               0 W/ 7 / / /
                                                                                                                 0              �C_o_m_mon_w-ea -t_h
                                                                                                                                                 l _f-  --yt-va_n_la-.-:-:
                                                                                                                                                     o Penns              -:-a -,-�-:711
                                                                                                                                                                       Not ry
                                                                                                                                        TMOMAc; r11111u.u,1 Notary Pubtc     l
                                                                                                                                            Philadelphia County
                                                                                                                                     My Commission Expires March 11, 2023
                                                                                                      McNulty EEOC Docs 00023            Commission Number 1347443
     Case 2:19-cv-05030-JDW Document 126-7 Filed 04/20/21 Page 25 of 25




INFORMATION FOR COMPLAINANTS & ELECTION OPTION TO DUAL FILE WITH THE


                                                      N\,JJ� /;�s} i;,,.,N\
             PENNSYLVANIA HUMAN RELATIONS COMMISSION

case Name,     Pz\6<-1'). l'hc. N_,\ ry V -
EEOC Charge Number: __________

You have the right to dual file this EEOC charge of discrimination with the Pennsylvania
Human Relations Commission (PHRC) under the Pennsylvania Human Relations Act. Filing
your charge with PHRC protects your state rights, especially since there may be
circumstances in which state and federal laws and procedures vary in a manner which could
affect the outcome of your case.

Complaints filed with PHRC must be filed within 180 days of the act(s) which you believe are
unlawful discrimination. If PHRC determines that your PHRC complaint is untimely, it will be
dismissed.

If you also want your EEOC charge filed with PHRC, including this form as part of your
EEOC charge, with your signature under the verification below, will constitute filing with
PHRC. You have chosen EEOC to investigate your complaint, so PHRC will not conduct a
separate investigation and, in most cases, will accept EEOC's findings. If you disagree with
PHRC's adoption of EEOC's findings, you will have the chance to file a request for
preliminary hearing with PHRC.

Since you have chosen to initially file your charge with EEOC , making it the primary
investigatory agency, the Respondent will not be required to file an answer with PHRC, and
no other action with PHRC is required by either party, unless/until otherwise notified by
PHRC.

If your case is still pending with PHRC after one year from filing with PHRC, you have the
right to file your complaint in State court. PHRC will inform you of these rights and
obligations at that time.

                   SIGN AND DATE APPROPRIATE REQUEST BELOW

I want my charge dual filed with PHRC. I hereby incorporate this form and the verification
below into the attached EEOC complaint form and file it as my PHRC complaint. I request
that EEOC transmit a copy to PHRC.

I understand that false statements in this complaint are made subject to the penalties of 18
Pa. C.S. 4904, relating to unsworn falsification to authorities.

x ?�:YVl hjJJ�
Signature and Date

OR

I do not want my charge dual filed with PHRC.



Signature and Date




                                                       McNulty EEOC Docs 00024
